           Case 3:21-cv-00163-SI             Document 1         Filed 02/01/21        Page 1 of 15




                          U.S. Bankruptcy Appellate Panel
                                 of the Ninth Circuit
                             125 South Grand Avenue, Pasadena, California 91105
                                               (626) 229-7220


 In Re: PETER SZANTO                                      BAP No.: OR-21-1005
 Bk. Ct. No.: 3:16-bk-33185-PCM7                          ADV. NO.:

                         NOTICE OF TRANSFER OF APPEAL TO DISTRICT COURT

A party to the appeal has timely filed an objection to the disposition of this matter by the Bankruptcy Appellate
Panel. See 28 USC Section 158. Consequently, this appeal is herewith transferred to U.S. District Court.

Please acknowledge receipt of the case file listed above by signing and returning a copy of this transmittal
form.

Susan M Spraul, BAP Clerk

By: Patti Ippolito, Deputy Clerk
Date: January 28, 2021

                                               Please acknowledge receipt of
                                               the case file listed above.
                                               Dated:_______________________

                                               Signed:______________________
                                                        District Court Deputy

                                               Assigned District Court No.

                                               _____________________________
cc: Bankruptcy Court
     All Parties
                Case 3:21-cv-00163-SI           Document 1           Filed 02/01/21           Page 2 of 15

Official Form 417A (12/18)
                                                         16-33185-pcm7




                             [Caption as in Form 416A, 416B, or 416D, as appropriate]

                       NOTICE OF APPEAL AND STATEMENT OF ELECTION


  Part 1: Identify the appellant(s)
      1. Name(s) of appellant(s):    Peter Szanto
         _________________________________________________________________________

      2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of this
         appeal:

            For appeals in an adversary proceeding.            For appeals in a bankruptcy case and not in an
               Plaintiff                                      adversary proceeding.
               Defendant                                      xx
                                                                Debtor
               Other (describe) ________________________       Creditor
                                                                Trustee
                                                                Other (describe)     ________________________


  Part 2: Identify the subject of this appeal                     (ORDER ATTACHED HERETO)
                                                                              Docket Entry 1058 re Contempt
      1. Describe the judgment, order, or decree appealed from: ____________________________
                                                                                       Jan. 15-2021
      2. State the date on which the judgment, order, or decree was entered: ___________________

  Part 3: Identify the other parties to the appeal

  List the names of all parties to the judgment, order, or decree appealed from and the names, addresses,
  and telephone numbers of their attorneys (attach additional pages if necessary):
                 Trustee
      1. Party: _________________                       Gary Blacklidge
                                             Attorney: ______________________________
                                                          Two Centerpointe Dr., 6th
                                                       ______________________________                            Floor
                                                       ______________________________
                                                          Lake Oswego, Oregon 97035
                                                       ______________________________
                                                                           (503) 598-7070
                Peter   Szanto               pro  se
      2. Party: _________________ Attorney: ______________________________
                                             11 Shore Pine, Newport Beach CA 92657
                                            ______________________________
                                                        ______________________________
                                                        ______________________________
                                                                                                         949 887 2369




  Official Form 417A                     Notice of Appeal and Statement of Election                                 page 1



                           Case 16-33185-pcm7               Doc 1059          Filed 01/17/21
             Case 3:21-cv-00163-SI          Document 1           Filed 02/01/21        Page 3 of 15




Part 4: Optional election to have appeal heard by District Court (applicable only in
certain districts)

If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will
hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the appeal heard by the
United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
United States District Court, check below. Do not check the box if the appellant wishes the Bankruptcy
Appellate Panel to hear the appeal.

            Appellant(s) elect to have the appeal heard by the United States District Court rather than by
             the Bankruptcy Appellate Panel.


Part 5: Sign below

  Peter Szanto /s/signed electronically /PeterSzanto                                          Jan 17-2021
_____________________________________________________                        Date: ____________________________
Signature of attorney for appellant(s) (or appellant(s)
if not represented by an attorney)

Name, address, and telephone number of attorney
(or appellant(s) if not represented by an attorney):
_____________________________________________________
  11 Shore Pine, Newport Beach CA 92657
_____________________________________________________                   949 887 2369
_____________________________________________________
_____________________________________________________




Fee waiver notice: If appellant is a child support creditor or its representative and appellant has filed the
form specified in § 304(g) of the Bankruptcy Reform Act of 1994, no fee is required.


[Note to inmate filers: If you are an inmate filer in an institution and you seek the timing benefit of Fed.
R. Bankr. P. 8002(c)(1), complete Director’s Form 4170 (Declaration of Inmate Filing) and file that
declaration along with the Notice of Appeal.]




Official Form 417A                   Notice of Appeal and Statement of Election                             page 2


                        Case 16-33185-pcm7              Doc 1059          Filed 01/17/21
          Case 3:21-cv-00163-SI   Document 1   Filed 02/01/21   Page 4 of 15




              UNITED STATES BANKRUPTCY APPELLATE PANEL

                OF THE NINTH CIRCUIT COURT OF APPEALS



In re                                     BAP No. OR-21-1005

Peter Szanto                              Bk. No. 3:16-bk-33185-PCM

               Debtor.


Peter Szanto,

               Appellant,

        vs.

Candace Amborn, Chapter 7 Trustee,

               Appellee.


   NOTICE OF APPEARANCE FOR APPELLEE CANDACE AMBORN BY
                  ATTORNEY ROBYN L. STEIN

                 On Appeal from the United States Bankruptcy Court
                             for the District of Oregon
                             Hon. Peter C. McKittrick




                                                                    54568-78583 4826-7851-1065.1
        Case 3:21-cv-00163-SI    Document 1    Filed 02/01/21   Page 5 of 15




      PLEASE TAKE NOTICE that attorney Robyn L. Stein hereby appears in

these matters for Appellee Candace Amborn, Chapter 7 Trustee. Ms. Stein’s

contact information is as follows:

      Robyn L. Stein, OSB #993682
      robyn.stein@jordanramis.com
      JORDAN RAMIS PC
      Two Centerpointe Dr., 6th Floor
      Lake Oswego, Oregon 97035
      Telephone: (503) 598-7070

      Dated this 25th day of January, 2021.

                                        JORDAN RAMIS PC



                                        By: /s/ Robyn L. Stein
                                        Robyn L. Stein, OSB No. 993682
                                        E-mail: robyn.stein@jordanramis.com

                                        Attorneys for Appellee Candace Amborn,
                                        Chapter 7 Trustee




                                                                    54568-78583 4826-7851-1065.1
        Case 3:21-cv-00163-SI    Document 1    Filed 02/01/21   Page 6 of 15




                 CERTIFICATE OF FILING AND SERVICE

      I hereby certify that on January 25, 2021, I electronically filed the foregoing

with the Clerk of the Court of the United States Court of Appeals Ninth Circuit

Bankruptcy Appellate Panel by using the appellate CM/ECF system.

      I certify that all participants in the case who are registered CM/ECF users

will be served by the appellate CM/ECF system.

      DATED: January 25, 2021.

                                                /s/ Robyn L. Stein
                                                Robyn L. Stein, OSB #993682
                                                robyn.stein@jordanramis.com




                                                                     54568-78583 4826-7851-1065.1
          Case 3:21-cv-00163-SI   Document 1   Filed 02/01/21   Page 7 of 15




              UNITED STATES BANKRUPTCY APPELLATE PANEL

                OF THE NINTH CIRCUIT COURT OF APPEALS



In re                                     BAP No. OR-21-1005

Peter Szanto                              Bk. No. 3:16-bk-33185-PCM

               Debtor.


Peter Szanto,

               Appellant,

        vs.

Candace Amborn, Chapter 7 Trustee,

               Appellee.


   NOTICE OF APPEARANCE FOR APPELLEE CANDACE AMBORN BY
                ATTORNEY RUSSELL D. GARRETT

                 On Appeal from the United States Bankruptcy Court
                             for the District of Oregon
                             Hon. Peter C. McKittrick




                                                                    54568-78583 4829-7656-8793.1
        Case 3:21-cv-00163-SI    Document 1   Filed 02/01/21   Page 8 of 15




      PLEASE TAKE NOTICE that attorney Russell D. Garrett hereby appears

in these matters for Appellee Candace Amborn, Chapter 7 Trustee. Mr. Garrett’s

contact information is as follows:

      Russell D. Garrett, OSB #882111
      russ.garrett@jordanramis.com
      JORDAN RAMIS PC
      Two Centerpointe Dr., 6th Floor
      Lake Oswego, Oregon 97035
      Telephone: (503) 598-7070

      Dated this 25th day of January, 2021.

                                      JORDAN RAMIS PC



                                      By: /s/ Russell D. Garrett
                                      Russell D. Garrett, OSB No. 882111
                                      E-mail: russ.garrett@jordanramis.com

                                      Attorneys for Appellee Candace Amborn,
                                      Chapter 7 Trustee




                                                                   54568-78583 4829-7656-8793.1
        Case 3:21-cv-00163-SI    Document 1    Filed 02/01/21   Page 9 of 15




                 CERTIFICATE OF FILING AND SERVICE

      I hereby certify that on January 25, 2021, I electronically filed the foregoing

with the Clerk of the Court of the United States Court of Appeals Ninth Circuit

Bankruptcy Appellate Panel by using the appellate CM/ECF system.

      I certify that all participants in the case who are registered CM/ECF users

will be served by the appellate CM/ECF system.

      DATED: January 25, 2021.

                                                /s/ Russell D. Garrett
                                                Russell D. Garrett, OSB #882111
                                                russ.garrett@jordanramis.com




                                                                     54568-78583 4829-7656-8793.1
      Case 3:21-cv-00163-SI    Document 1      Filed 02/01/21   Page 10 of 15



                              Case No. OR-21-1005


         UNITED STATES BANKRUPTCY APPELLATE PANEL
                   FOR THE NINTH CIRCUIT


                               In Re: Peter Szanto,
                                     Debtor.

                                  Peter Szanto,
                                   Appellant,
                                        v.
                    Candace Amborn, Chapter 7 Trustee,
                                    Appellee.


   NOTICE OF FILING OF OPTIONAL APPELLEE STATEMENT OF
         ELECTION TO PROCEED IN DISTRICT COURT
               On appeal from the U.S.B.C., District of Oregon
                   Bankr. Case No. 3:16-bk-33185-pcm7
                         The Hon. Peter McKittrick


                   Russell D. Garrett, OSB #882111
                   russell.garrett@jordanramis.com
                   Robyn L. Stein, OSB #993682
                   robyn.stein@jordanramis.com
                   JORDAN RAMIS PC
                   Two Centerpointe Dr., 6th Floor
                   Lake Oswego, Oregon 97035
                   Telephone: (503) 598-7070
                   Facsimile: (503) 598-7373
                   Attorneys for Appellee Candace Amborn, Chapter 7 Trustee

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         STATEMENT OF ELECTION TO PROCEED IN
         DISTRICT COURT
                                                                     54568-78951 4850-1691-9769.1
        Case 3:21-cv-00163-SI   Document 1    Filed 02/01/21   Page 11 of 15




      PLEASE TAKE NOTICE that in the matter of this appeal, the appellee has

filed the attached Optional Appellee Statement of Election to Proceed in District

Court in the United States Bankruptcy Court for the District of Oregon, In re

Szanto, Bankr. No. 3:16-bk-33185-pcm7.

      DATED this 27th day of January, 2021.

                                     JORDAN RAMIS PC

                                     By: /s/ Robyn L. Stein
                                         Russell D. Garrett, OSB #882111
                                         russell.garrett@jordanramis.com
                                         Robyn L. Stein, OSB #993682
                                         robyn.stein@jordanramis.com
                                         Telephone: (503) 598-7070
                                         Facsimile: (503) 598-7373

                                          Attorneys for Candace Amborn, Chapter
                                          7 Trustee




Page 2 - NOTICE OF FILING OPTIONAL APPELLEE
         STATEMENT OF ELECTION TO PROCEED IN
         DISTRICT COURT
                                                                    54568-78951 4850-1691-9769.1
         Case 3:21-cv-00163-SI     Document 1    Filed 02/01/21       Page 12 of 15




Gary L. Blacklidge, OSB #902089
gary.blacklidge@jordanramis.com
Russell D. Garrett, OSB #882111
russell.garrett@jordanramis.com
JORDAN RAMIS PC
Two Centerpointe Dr., 6th Floor
Lake Oswego, Oregon 97035
Telephone: (503) 598-7070
Facsimile: (503) 598-7373

Attorneys for Candace Amborn, Chapter 7
Trustee

                          UNITED STATES BANKRUPTCY COURT

                            FOR THE DISTRICT OF OREGON




In re                                           Case No. 16-33185-PCM7

                                                APPELLEE’S OPTIONAL STATEMENT
PETER SZANTO,                                   OF ELECTION TO PROCEED IN
                                                DISTRICT COURT
                Debtor.
                                                [Re: DOC. 1059]

        Part 1: Identify the appellee(s) electing to proceed in the District Court
           1.   Name(s) of appellee(s): Candace Amborn, Chapter 7 Trustee
           2.   Position of appellee(s) in the adversary proceeding or bankruptcy
                case that is the subject of this appeal:
                For appeals in an adversary          For appeals in a bankruptcy case
                proceeding.                          and not in an adversary proceeding.
                O Plaintiff                          O Debtor
                O Defendant                          O Creditor
                O Other (describe) _________         X Trustee
                                                     O Other (describe) _________

        Part 2: Election to have this appeal heard by the District Court
        (applicable only in certain districts)
           I (we) elect to have the appeal heard by the United States District Court
           rather than by the Bankruptcy Appellate Panel.
Page 1 – APPELLEE’S OPTIONAL STATEMENT OF                              JORDAN RAMIS PC
                                                                         Attorneys at Law
         ELECTION TO PROCEED IN DISTRICT                         Two Centerpointe Dr., 6th Floor
         COURT                                                    Lake Oswego, Oregon 97035
                                                          Telephone: (503) 598-7070 Fax: (503) 598-7373
                                                                               54568-78951 4825-3972-5017.1

                     Case 16-33185-pcm7    Doc 1070    Filed 01/27/21
       Case 3:21-cv-00163-SI     Document 1      Filed 02/01/21        Page 13 of 15




Part 3: Sign below

     DATED this 27th day of January, 2021.

                                      JORDAN RAMIS PC



                                      By: /s/ Russell D. Garrett
                                          Gary L. Blacklidge, OSB #902089
                                          Russell D. Garrett, OSB #882111

                                             Attorneys for Candace Amborn, Trustee




Page 2 – APPELLEE’S OPTIONAL STATEMENT OF                               JORDAN RAMIS PC
                                                                          Attorneys at Law
         ELECTION TO PROCEED IN DISTRICT                          Two Centerpointe Dr., 6th Floor
         COURT                                                     Lake Oswego, Oregon 97035
                                                           Telephone: (503) 598-7070 Fax: (503) 598-7373
                                                                                54568-78951 4825-3972-5017.1

                 Case 16-33185-pcm7          Doc 1070   Filed 01/27/21
      Case 3:21-cv-00163-SI         Document 1       Filed 02/01/21        Page 14 of 15




                              CERTIFICATE OF SERVICE

     I hereby certify that on the date shown below, I electronically filed the

foregoing APPELLEE’S OPTIONAL STATEMENT OF ELECTION TO PROCEED IN

DISTRICT COURT on:

     VIA ECF FILING
     US Trustee
     US Trustee, Portland
     620 SW Main St #213
     Portland, OR 97205
     VIA ECF FILING AND US MAIL POSTAGE PREPAID
     Peter Szanto
     11 Shore Pine
     Newport Beach CA 92657
     Email: szanto.pete@gmail.com
     SPECIAL REQUEST FOR NOTICE – VIA US MAIL POSTAGE PREPAID
     Cara Richter
     Shapiro & Sutherland, LLC
     1499 SE Tech Center Place, Ste 255
     Vancouver, WA 98683
      Attorneys for JP Morgan Chase Bank, National Association
     Michael S. Scott
     McCarthy & Holthus, LLP
     920 SW 3rd Avenue, 1st Floor
     Portland, OR 97204
      Attorneys for Bank of America, N.A.
     American Express National Bank
     c/o Becket and Lee LLP
     P.O. Box 3001
     Malvern, PA 19355

     DATED: January 27, 2021.

                                                      /s/ Russell D. Garrett
                                                      Russell D. Garrett, OSB #882111
                                                      russell.garrett@jordanramis.com




Page 3 – APPELLEE’S OPTIONAL STATEMENT OF                                   JORDAN RAMIS PC
                                                                              Attorneys at Law
         ELECTION TO PROCEED IN DISTRICT                              Two Centerpointe Dr., 6th Floor
         COURT                                                         Lake Oswego, Oregon 97035
                                                               Telephone: (503) 598-7070 Fax: (503) 598-7373
                                                                                    54568-78951 4825-3972-5017.1

                  Case 16-33185-pcm7          Doc 1070      Filed 01/27/21
       Case 3:21-cv-00163-SI    Document 1     Filed 02/01/21   Page 15 of 15




                 CERTIFICATE OF FILING AND SERVICE

      I hereby certify that on the date shown below, I electronically filed the

foregoing NOTICE OF FILING OPTIONAL APPELLEE STATEMENT OF

ELECTION TO PROCEED IN DISTRICT COURT with the Clerk of the

Court of the United States Court of Appeals Ninth Circuit Bankruptcy Appellate

Panel by using the appellate CM/ECF system.

      I certify that all participants in the case who are registered CM/ECF users

will be served by the appellate CM/ECF system.


      DATED: January 27, 2021.

                                                /s/ Robyn L. Stein
                                                Robyn L. Stein, OSB #993682
                                                robyn.stein@jordanramis.com




Page 3 - NOTICE OF FILING OPTIONAL APPELLEE
         STATEMENT OF ELECTION TO PROCEED IN
         DISTRICT COURT
                                                                     54568-78951 4850-1691-9769.1
